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                            UNITED STATES DISTRICT COURT
                            WESTERN DISTRICT OF LOUISIANA
                                  MONROE DIVISION
                                   (Held in Shreveport)


  PHILLIP CALLAIS ET AL                               CASE NO. 3:24-CV-00122

  VERSUS                                              JUDGES CARL E. STEWART, ROBERT
                                                      R. SUMMERHAYS, DAVID C. JOSEPH

  NANCY LANDRY                                        MAG. JUDGE KAYLA D. MCCLUSKY

                                   MINUTES OF COURT:
                                   BENCH TRIAL – Day 3
   Date:             April 10, 2024    Presiding:              Judges Carl E. Stewart, Robert R.
                                       Summerhays, David C. Joseph
   Court Opened:      9:08 AM          Courtroom Deputy:       Lisa LaCombe/Chrissy Craig
   Court Adjourned: 12:38 PM           Court Reporter:         Diana Cavenah
   Statistical Time: 3:05              Courtroom:              Courtroom 1
                                     APPEARANCES
   Edward D. Greim                           For       Phillip Callais, All Plaintiffs
   Katherine Graves                          For       Phillip Callais, All Plaintiffs
   Jackson Tyler                             For       Phillip Callais, All Plaintiffs
   Paul L Hurd                               For       Phillip Callais, All Plaintiffs
   A. Bradley Bodamer                        For       Phillip Callais, All Plaintiffs

   Amitav Chakraborty                           For      Robinson, All Intervenor Defendants
   T. Alora Thomas                              For      Robinson, All Intervenor Defendants
   Jonathan Hurwitz                             For      Robinson, All Intervenor Defendants
   Stuart Naifeh                                For      Robinson, All Intervenor Defendants
   I. Sara Rohani                               For      Robinson, All Intervenor Defendants
   Colin Burke                                  For      Robinson, All Intervenor Defendants
   Victoria Wenger                              For      Robinson, All Intervenor Defendants
   R. Jared Evans                               For      Robinson, All Intervenor Defendants
   Kathryn Sudasivan                            For      Robinson, All Intervenor Defendants
   Robert Klein                                 For      Robinson, All Intervenor Defendants
   Arielle McTootle                             For      Robinson, All Intervenor Defendants
   Sarah Brannon                                For      Robinson, All Intervenor Defendants
   Garrett Muscatel                             For      Robinson, All Intervenor Defendants
   Daniel Hessel                                For      Robinson, All Intervenor Defendants

   Casey T. Jones                               For      State of Louisiana, Attorney General
   Drew C. Ensign                               For      State of Louisiana, Attorney General
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   Jason Torchinsky                                For       State of Louisiana
   Brennan Bowen                                   For       State of Louisiana
   Phillip Gordon                                  For       State of Louisiana

   Phillip J. Stracer                              For       Nancy Landry, Secretary of State
   John C. Walsh                                   For       Nancy Landry, Secretary of State




                                          PROCEEDINGS

  Case called for Bench Trial regarding [1] Complaint Seeking Declaratory Judgment and
  Injunctive Relief and [17] Motion for Preliminary Injunction by all Plaintiffs.

  Evidence and testimony for the Robinson Intervenors continued and concluded.
  Robinson Intervenors rest.

  The State of Louisiana and the Secretary of State declined to call any witnesses.
  No rebuttal by Plaintiffs.

  Closing arguments by all parties.

  The Court will allow post-trial briefs from all parties filed by close of business on Wednesday,
  April 17, 2024, and shall contain proposed Findings of Fact.

  A written ruling will follow.
